Case 16-71479-jrs    Doc 52    Filed 04/10/18 Entered 04/10/18 09:28:22    Desc Main
                               Document      Page 1 of 2


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                      :                 CASE NO. 16 – 71479 - JRS
                            :
QUENTIN ALEXANDER STEPHENS, :
                            :
                            :                 CHAPTER 11
                            :
    DEBTOR.                 :

                             NOTICE OF APPEARANCE

TO THE CLERK OF COURT:

      Pursuant to Bankruptcy Rule 9010(b), the undersigned hereby enters his
appearance as counsel for Daniel M. McDermott, United States Trustee, Region 21, in
the above-captioned case.


                                              Respectfully submitted,

                                              DANIEL M. MCDERMOTT
                                              UNITED STATES TRUSTEE
                                              REGION 21

                                               /s David S. Weidenbaum
                                              DAVID S. WEIDENBAUM
                                              Georgia Bar No. 745892
                                              Trial Attorney

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
404.331.4437
david.s.weidenbaum@usdoj.gov
Case 16-71479-jrs    Doc 52    Filed 04/10/18 Entered 04/10/18 09:28:22     Desc Main
                               Document      Page 2 of 2


                              CERTIFICATE OF SERVICE


     I hereby certify that a true and correct copy of the foregoing NOTICE OF
APPEARANCE was this day sent by electronic mail to the following:

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339
hs@myatllaw.com



      This the 10th day of April, 2018.


                                               /s David S. Weidenbaum
                                              DAVID S. WEIDENBAUM
